Case 6:19-cv-02168-RBD-LRH Document3 Filed 11/15/19 Page 1 of 2 PagelD 22

AO 440 (Rey. 06/22) Summons ina Civil Action

 

UNITED STATES DISTRICT COURT

for the

 

 

WENDELL H. STONE COMPANY, INC. d/b/a STONE
& COMPANY, individually and on behalf of ail others
similarly situated,

 

Plaintiffis)
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RESORT CONFIRMATIONS, INC., d/b/a RCI-
Promotions, a Florida corporation and
DANIEL MARSHALL, an individual,

Civil Action No. 6119-cv-02168

 

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Defendant(s}

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address) Daniel Marshall
5036 Dr. Phillips Boulevard, Unit 161
Orlando, Florida 32819

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R, Civ.
P. 12 (a)(2) or 3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure, The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Ryan 5. Shipp of Ryan S. Shipp, PLLC
814 Lantana Road, Suite 1

Lantana, Florida 33462
ryan@shipplawoffice.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date: _

 

Signature of Clerk or Deputy Clerk
Case 6:19-cv-02168-RBD-LRH Document3 Filed 11/15/19 Page 2 of 2 PagelD 23

AO 440 (Rev. 06/12) Summons in a Civil Action

 

UNITED STATES DISTRICT COURT

for the

 

 

WENDELL H. STONE COMPANY, INC. d/b/a STONE
& COMPANY, individually and on behalf of all others
similarly situated;

 

Plaintiffs)
Vv.
RESORT CONFIRMATIONS, INC., d/b/a RCI- .
Promotions, a Florida corporation and
DANIEL MARSHALL, an individual,

Civil Action No. 6°] 9-cv-02168

 

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Defendantts}

SUMMONS IN A CIVIL ACTION

“To: (Defendant’s name and address) RCI-Promotions
c/o Registered Agent
5036 Dr. Phillips Boulevard, Unit 161
Onlando, Florida 32819

A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a}(2) or (3) -~ you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:
Ryan S. Shipp of Ryan S. Shipp, PLLC
814 Lantana Road, Suite 1
Lantana, Florida 33462
ryan@shipplawoffice.com

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

CLERK OF COURT

Date:

 

Signature of Clerk or Deputy Clerk
